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        EXHIBIT 2
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Goodman, Eric R.

From:                     Goodman, Eric R.
Sent:                     Saturday, September 5, 2020 11:19 AM
To:                       'Kirschenbaum, Andrew'; James Stang; Rob Orgel; John A. Morris; John W. Lucas; Linda Cantor;
                          'joneill@pszjlaw.com'; Mason, Richard G.; Mayer, Douglas K.; Celentino, Joseph C.; Ringer, Rachael;
                          Sharret, Jennifer; Wasson, Megan; Harron, Edwin; Zieg, Sharon; bmccullough@bodellbove.com;
                          bruce.celebrezze@clydeco.us; Taylor.Meehan@clydeco.us; Gummow, Susan; Shleypak, Igor;
                          Smethurst, Ryan; Warner, Margaret; msorem@nicolaidesllp.com; Schiavoni, Tancred; Wadley, Chris;
                          'stamoulis@swdelaw.com'; Ruggeri, James P.; Williams, Abigail W.; Weinberg, Joshua D.; Gooding,
                          Doug; Marshall, Jonathan D.; 'KMarrkand@mintz.com'; TJacobs@bradleyriley.com; John E. Bucheit;
                          David M. Caves; Winsberg, Harris B.; Lorraine Armenti; Strubeck, Louis; 'Gluck, Kristian W.'; Smith,
                          Laura; Brady, Robert; Mielke, Allison S.; Kochenash, Jared W.; mhrinewski@coughlinduffy.com;
                          craig.goldblatt@wilmerhale.com; Seligman, Gary; Criss, Ashley; Beville, Sunni P.; Axelrod, Tristan G.;
                          support@ava.law; Tim@Kosnoff.Com; Molton, David J.; Boelter, Jessica C.K.; Andolina, Michael C.;
                          Labuda, Jr., Thomas; DAbbott@mnat.com; Martin, Ernest; Azer, Adrian; Tarr@BlankRome.com;
                          david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc:                       Schiavoni, Tancred; Stamatios Stamoulis; 'Rachel B. Mersky'
Subject:                  RE: Notice of Deposition of Timothy Kosnoff


Mr. Schiavoni,

We are in receipt of the Notices of Depositions of two of the personal injury counsel sent out late
yesterday. We did not receive a copy of any exhibits identifying the areas the proposed depositions are
intended to address or what pending matter(s) they are related to. We do not know if this was an error or if
there was a reason this was omitted. We also are surprised by the last minute timing of a Friday late afternoon
before a holiday weekend filing a Notice of Deposition for a deposition on the next business day.

We have no interest in interfering with any legitimate process or in causing any delay. We leave it to the
individual deponents to address the timing and propriety of the Notices and issues they may have concerning
scope. However, in order to address the Coalition’s interests we need confirmation of the intended scope and
which pending motions/adversaries the depositions are intended to be related to. We also preserve any issues
related to privilege between the Deponents and the Coalition and its counsel.

We note that the Deponents are counsel to some of the Coalition members and as such there may be privilege
issues that could arise during the deposition. Once we are provided with the intended scope of the proposed
depositions and the pleadings they relate to we may be able to resolve any issues before they arise and save
time and avoid any unnecessary judicial involvement.

Best Regards,
Eric



Eric R. Goodman
Partner

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From: Kirschenbaum, Andrew <akirschenbaum@omm.com>
Sent: Friday, September 4, 2020 4:27 PM
To: James Stang <jstang@pszjlaw.com>; Rob Orgel <rorgel@pszjlaw.com>; John A. Morris <jmorris@pszjlaw.com>; John
W. Lucas <jlucas@pszjlaw.com>; Linda Cantor <lcantor@pszjlaw.com>; 'joneill@pszjlaw.com' <joneill@pszjlaw.com>;
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<JSharret@KRAMERLEVIN.com>; Wasson, Megan <MWasson@KRAMERLEVIN.com>; Harron, Edwin
<eharron@ycst.com>; Zieg, Sharon <SZIEG@ycst.com>; bmccullough@bodellbove.com; bruce.celebrezze@clydeco.us;
Taylor.Meehan@clydeco.us; Gummow, Susan <sgummow@fgppr.com>; Shleypak, Igor <ishleypak@fgppr.com>;
Smethurst, Ryan <rsmethurst@mwe.com>; Warner, Margaret <mwarner@mwe.com>; msorem@nicolaidesllp.com;
Schiavoni, Tancred <tschiavoni@omm.com>; Kirschenbaum, Andrew <akirschenbaum@omm.com>; Wadley, Chris
<cwadley@wwmlawyers.com>; 'stamoulis@swdelaw.com' <stamoulis@swdelaw.com>; Ruggeri, James P.
<JRuggeri@goodwin.com>; Williams, Abigail W. <AWilliams@goodwin.com>; Weinberg, Joshua D.
<JWeinberg@goodwin.com>; Gooding, Doug <dgooding@choate.com>; Marshall, Jonathan D.
<jmarshall@choate.com>; 'KMarrkand@mintz.com' <KMarrkand@mintz.com>; TJacobs@bradleyriley.com; John E.
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<louis.strubeck@nortonrosefulbright.com>; 'Gluck, Kristian W.' <kristian.gluck@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Brady, Robert <RBRADY@ycst.com>; Mielke, Allison S. <AMielke@ycst.com>;
Kochenash, Jared W. <JKochenash@ycst.com>; mhrinewski@coughlinduffy.com; craig.goldblatt@wilmerhale.com;
Seligman, Gary <GSeligman@wiley.law>; Criss, Ashley <ACriss@wiley.law>; Beville, Sunni P.
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Andolina, Michael C. <mandolina@sidley.com>; Labuda, Jr., Thomas <tlabuda@sidley.com>; DAbbott@mnat.com;
Martin, Ernest <Ernest.Martin@haynesboone.com>; Azer, Adrian <Adrian.Azer@haynesboone.com>;
Tarr@BlankRome.com; david.l.buchbinder@usdoj.gov; hannah.mccollum@usdoj.gov
Cc: Schiavoni, Tancred <tschiavoni@omm.com>; Stamatios Stamoulis <stamoulis@swdelaw.com>
Subject: Notice of Deposition of Timothy Kosnoff

External E-mail. Use caution accessing links or attachments.

Please see the attached deposition notice for Mr. Kosnoff on Tuesday, Sept. 8, 2020 at 3:00 p.m. ET.

O’Melveny
Andrew L. Kirschenbaum
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